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 6   Attorneys for Defendant
     KIEDOCK KIM
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 9               IN THE UNITED STATES DISTRICT COURT FOR THE

10                          EASTERN DISTRICT OF CALIFORNIA

11

12   UNITED STATES OF AMERICA,                     CASE NO: 2:10-CR-0255 GEB

13                      Plaintiff,
                                                   STIPULATION AND [PROPOSED]
14         v.                                      ORDER CONTINUING STATUS
                                                   CONFERENCE AND EXCLUDING
15   FRENCH GULCH NEVADA MINING                    TIME UNDER THE SPEEDY TRIAL
     CORPORATION, BULLION RIVER                    ACT
16   GOLD CORPORATION, PETER                       _______________________________
     MARTIN KUHN, and KIEDOCK KIM,
17
                        Defendants.
18
     _____________________________/
19

20         The defendant, KIEDOCK KIM, through his counsel of record, Segal & Kirby

21   LLP, and plaintiff United States of America, through its counsel, Assistant United

22   States Attorney Samuel W ong, agree and stipulate that the Status Conference

23   currently set for September 16, 2011, at 9:00 a.m. may be continued until November

24   18, 2011, at 9:00 a.m. in order to permit the defendant the continued opportunity to

25   provide reciprocal discovery to the government, to permit the government the

26   opportunity to evaluate information recently provided by the defense to the

27   government in a meeting between counsel, and to prepare the case for further

28   proceedings.
                                           1
         STIPULATION AND [PROPOSED] ORDER CONTINUING STATUS CONFERENCE AND
                      EXCLUDING TIME UNDER THE SPEEDY TRIAL ACT
       Case 2:10-cr-00255-TLN Document 41 Filed 09/01/11 Page 2 of 3

 1         The parties agree a continuance is necessary for these purposes, and

 2   accordingly, both parties further agree and stipulate that time should be excluded

 3   from the date of the parties' stipulation, August 25, 2011, through November 18,

 4   2011, from computation of time within which the trial of this case must be

 5   commenced under the Speedy Trial Act pursuant to 18 U.S.C. § 3161(h)(7)(A) and

 6   (B)(iv) and Local Code T4 (ongoing preparation of defense counsel) due to the need

 7   to provide defense counsel with the reasonable time to prepare and to provide

 8   reciprocal discovery and further information to the government taking into account

 9   the exercise of due diligence. Both parties agree that the ends of justice served by

10   the granting of such continuance outweigh the interests of the public.

11         IT IS SO STIPULATED.

12
     Dated: August 25, 2011                 Respectfully submitted,
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                                            SEGAL & KIRBY LLP
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15                                   By:    /s/ Malcolm Segal
                                            MALCOLM SEGAL
16                                          Attorneys for Defendant
                                            KIEDOCK KIM
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     Dated: August 25, 2011          By:    /s/ Samuel W ong
19                                          SAMUEL W ONG
                                            Assistant United States Attorney (per
20                                          authorization)

21

22                                          ORDER

23         UPON GOOD CAUSE SHOW N and the stipulation of all parties, it is ordered

24   that the Status Conference currently set for September 16, 2011, at 9:00 a.m. be

25   continued to November 18, 2011, at 9:00 a.m.. Based upon the representation of

26   the parties, including defense counsel, and good cause appearing therefrom, the

27   Court hereby finds that it is unreasonable to expect adequate preparation for pretrial

28   proceedings and trial itself within the time limits established in 18 U.S.C. § 3161, and
                                              2
         STIPULATION AND [PROPOSED] ORDER CONTINUING STATUS CONFERENCE AND
                      EXCLUDING TIME UNDER THE SPEEDY TRIAL ACT
       Case 2:10-cr-00255-TLN Document 41 Filed 09/01/11 Page 3 of 3

 1   the requested continuance is necessary to provide defense counsel reasonable time

 2   necessary for effective preparation, taking into account the exercise of due diligence.

 3   The Court finds the ends of justice to be served by granting such a continuance

 4   outweigh the best interests of the public and the defendant in a speedy trial.

 5         It is therefore ordered that the time from August 25, 2011, up to and including

 6   the November 18, 2011, Status Conference shall be excluded from computation of

 7   time within which the trial of this matter must be commenced under the Speedy Trial

 8   Act pursuant to 18 U.S.C. § 3161(h)(7)(A) and (B)(iv) and Local Code T4 (ongoing

 9   preparation of defense counsel).

10   Dated: August 31, 2011
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12                                        GARLAND E. BURRELL, JR.
                                          United States District Judge
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         STIPULATION AND [PROPOSED] ORDER CONTINUING STATUS CONFERENCE AND
                      EXCLUDING TIME UNDER THE SPEEDY TRIAL ACT
